       Case 5:19-cv-00834-DAE Document 117 Filed 05/02/22 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

Malibu Media, LLC,                     §
                                       §
       Plaintiff,                      §     NO: SA:19-CV-00834-DAE
vs.                                    §
                                       §
John Doe, et al.                       §
                                       §
       Defendants.                     §

          ORDER SETTING IN PERSON STATUS CONFERENCE
       It is hereby ORDERED that the above entitled and numbered case is set

for a IN PERSON STATUS CONFERENCE before Senior U.S. District Judge

David A. Ezra in Courtroom F, on the 3rd Floor of the United States Federal

Courthouse, 262 W. Nueva Street, San Antonio, TX, on Wednesday, June 01,

2022 at 09:00 AM.

       IT IS SO ORDERED.

       DATED: San Antonio, Texas May 02, 2022.



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                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
